EDTN Judgment in a Criminal Case for Revocation (Rev. 8/01)
     Sheet 1



                                      United States District Court
                                           Eastern District of Tennessee

         UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                     v.                                             (For Revocation of Probation or Supervised Release)
                                                                    (For Offenses committed on or after November 1, 1987)
               JIMMY HARVEY
                     (Defendant’s Name)
                                                                    Criminal Number:                 1:01-CR-18-002

                                                                    Rita LaLumia
                                                                    Defendant’s Attorney

THE DEFENDANT:
[T]      admitted guilt to violation of condition(s) general and standard conditions of the term of supervision.
[]       was found in violation of condition(s)      after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s);

                                                                                         Date Violation
Violation Number                    Nature of Violation                                  Occurred

See next page.




       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has not violated condition(s)          and is discharged as to such violation(s) condition.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States attorney of any material change in the defendant’s economic circumstances.

                                                                                                  11/6/2008
                                                                  Date of Imposition of Sentence

                                                                                                      /s/
                                                                  Signature of Judicial Officer

                                                                    CURTIS L. COLLIER, Chief United States District Judge
                                                                  Name & Title of Judicial Officer


                                                                  Date




      Case 1:01-cr-00018-CLC-CHS                    Document 188         Filed 11/19/08              Page 1 of 3   PageID
                                                           #: 19
EDTN Judgment in a Criminal Case for Revocation (Rev. 8/01)
     Sheet I
                                                                                                                               Judgment - Page 2 of 3
CASE NUMBER:             1:01-CR-18-002
DEFENDANT:               JIMMY HARVEY

                                                  ADDITIONAL VIOLATIONS

Violation Number                                   Nature of Violation                                      Date Violation Occurred

I                                                  General Condition: The defendant shall not illegally posses        1/25/07, 6/5/07, 8/2/07
                                                   a controlled substance. The defendant shall refrain from any
                                                   unlawful use of a controlled substance.
                                                   Standard Condition #3: The defendant shall answer truthfully          1/25/07, 6/5/07, 8/2/07
                                                   all inquiries by the probation officer and follow the instructions
                                                   of the probation officer.
                                                   Standard Condition #7: The defendant shall not purchase, possess, use, 1/25/07, 6/5/07, 8/2/07
                                                   distribute, or administered any controlled substance or any paraphernalia
                                                   related to any controlled substances, except as prescribed by a physician.

II                                                 Standard Condition #3: The defendant shall follow the         2/2/07, 4/17/07, 5/7/07, 6/5/07
                                                   instructions of the probation officer.                        7/13/07

III                                                Standard Condition #6: The defendant shall notify the              8/1/07
                                                   probation officer at least ten days prior to any change in residence
                                                   or employment.
                                                   Standard Condition #10: The defendant shall permit a probation officer to   8/1/07
                                                   visit him or her at any time at home or elsewhere and shall permit
                                                   confiscation of any contraband observed in plain view of the probation
                                                   officer.




       Case 1:01-cr-00018-CLC-CHS                         Document 188             Filed 11/19/08           Page 2 of 3          PageID
                                                                 #: 20
EDTN Judgement in a Criminal Case (Rev. 3/04)
     Sheet 2 — Imprisonment
                                                                                                                     Judgment - Page 3 of 3
DEFENDANT:               JIMMY HARVEY
CASE NUMBER:             1:01-CR-18-002


                                                             IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 24
months .




[T]    The court makes the following recommendations to the Bureau of Prisons:

       That the defendant receive 500 hours of substance abuse treatment from the BOP Institution Residential Drug Abuse Treatment
       Program.

[T]    The defendant is remanded to the custody of the United States Marshal.


[]     The defendant shall surrender to the United States Marshal for this district:
       [ ] at      [] a.m. [] p.m. on       .
       [ ] as notified by the United States Marshal.


[]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       [ ] before 2 p.m. on     .
       [ ] as notified by the United States Marshal.
       [ ] as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




       Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                                           UNITED STATES MARSHAL



                                                                                                    By
                                                                                                         DEPUTY UNITED STATES MARSHAL




       Case 1:01-cr-00018-CLC-CHS                          Document 188                 Filed 11/19/08     Page 3 of 3    PageID
                                                                  #: 21
